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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     SHANE MICHAEL DAHIR,                                Case No. 3:21-cv-00487-MMD-WGC
4                                            Plaintiff                    ORDER
5            v.
6     E.K. DANIELS, et al.,
7                                       Defendants
8
9    I.     DISCUSSION

10          On November 18, 2021, Plaintiff, an inmate in the custody of the Nevada

11   Department of Corrections (“NDOC”), submitted a civil rights complaint under 42 U.S.C.

12   § 1983 and filed an application to proceed in forma pauperis. (ECF Nos. 1-1, 1).

13   Plaintiff’s application to proceed in forma pauperis is incomplete.         Plaintiff has not

14   submitted a financial certificate on this Court's approved form or an inmate account

15   statement for the previous six-month period with his application.

16          Under 28 U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, an inmate seeking to begin

17   a civil action in this Court may apply to proceed in forma pauperis in order to file the civil

18   action without prepaying the full $402 filing fee. To apply for in forma pauperis status, the

19   inmate must submit all three of the following documents to the Court:

20          (1) a completed Application to Proceed in Forma Pauperis for Inmate, this

21          Court’s approved form (i.e. pages 1 through 3 with the inmate’s two signatures on

22          page 3),

23          (2) a Financial Certificate properly signed by both the inmate and a prison or jail

24          official (i.e. page 4 of this Court’s approved form), and

25          (3) a copy of the inmate’s prison or jail trust fund account statement for the

26          previous six-month period.

27          Accordingly, the Court denies Plaintiff’s application to proceed in forma pauperis

28   (ECF No. 1) without prejudice because the application is incomplete. The Court will grant
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1    Plaintiff a one-time extension to file a fully complete application to proceed in forma
2    pauperis containing all three of the required documents. Plaintiff will file a fully complete
3    application to proceed in forma pauperis on or before January 21, 2022. Absent unusual
4    circumstances, the Court will not grant any further extensions of time. If Plaintiff does not
5    file a fully complete application to proceed in forma pauperis with all three required
6    documents on or before January 21, 2022, this case will be subject to dismissal without
7    prejudice for Plaintiff to file a new case with the Court when Plaintiff is able to acquire all
8    three of the documents needed to file a fully complete application to proceed in forma
9    pauperis or pays the full $402 filing fee.
10          A dismissal without prejudice means Plaintiff does not give up the right to refile the
11   case with the Court, under a new case number, when Plaintiff has all three documents
12   needed to submit with the application to proceed in forma pauperis. Alternatively, Plaintiff
13   may choose not to file an application to proceed in forma pauperis and instead pay the
14   full filing fee of $402 on or before January 21, 2022 to proceed with this case.
15          The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1) but the Court
16   will not file the complaint unless and until Plaintiff timely files a fully complete application
17   to proceed in forma pauperis with all three documents or pays the full $402 filing fee.
18   II.    CONCLUSION
19          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed
20   in forma pauperis (ECF No. 1) is denied without prejudice to file a new fully complete
21   application to proceed in forma pauperis with all three documents.
22          IT IS FURTHER ORDERED that the Clerk of the Court will send Plaintiff the
23   approved form application to proceed in forma pauperis by an inmate, as well as the
24   document entitled information and instructions for filing an in forma pauperis application.
25          IT IS FURTHER ORDERED that on or before January 21, 2022, Plaintiff will either
26   pay the full $402 filing fee for a civil action (which includes the $350 filing fee and the $52
27   administrative fee) or file with the Court:
28          (1) a completed Application to Proceed in Forma Pauperis for Inmate on this



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1           Court’s approved form (i.e. pages 1 through 3 of the form with the inmate’s two
2           signatures on page 3),
3           (2) a Financial Certificate properly signed by both the inmate and a prison or jail
4           official (i.e. page 4 of this Court’s approved form), and
5           (3) a copy of the inmate’s prison or jail trust fund account statement for the
6           previous six-month period.
7           IT IS FURTHER ORDERED that, if Plaintiff does not file a fully complete
8    application to proceed in forma pauperis with all three documents or pay the full $402
9    filing fee for a civil action on or before January 21, 2022, this case will be subject to
10   dismissal without prejudice for Plaintiff to refile the case with the Court, under a new case
11   number, when Plaintiff has all three documents needed to file a complete application to
12   proceed in forma pauperis or pays the the full $402 filing fee.
13          IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
14   (ECF No. 1-1) but will not file it at this time.
15                  November 22, 2021
            DATED: __________________
16
                                                  ___________________________________
17                                                UNITED STATES MAGISTRATE JUDGE
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